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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

__________________________________________
KRISTENE HAYWOOD, individually and         )
as next friend of KG,                      )
        Plaintiffs,                        )
                                           )
VS.                                        ) C.A. NO. 4:24-cv-40071-MRG
                                          )
FITCHBURG PUBLIC SCHOOLS,                 )
        Defendant.                        )


FITCHBURG PUBLIC SCHOOLS’S RESPONSE TO COURT’S ORDER TO RESPOND
       TO PLAINTIFF’S OPPOSITION TO THE MOTION TO DISMISS

   I.      INTRODUCTION

        NOW COMES the Defendant Fitchburg Public Schools (hereinafter the “District”) and

hereby submits this memorandum in response to the June 23, 2025, Order issued by Judge

Margaret R. Guzman. ECF No. 17. Judge Guzman ordered the District to address only the

arguments raised by the Plaintiff in its Opposition, including but not limited to:

        1. The interaction of Plaintiff’s Procedural Due Process and M.G.L. c. 76, § 5 claims,

           including whether the Massachusetts Tort Claims Act forecloses the remedy set forth

           in M.G.L. c. 76, § 5; and

        2. The application of the Supreme Judicial Court’s opinion in Goodwin v. Lee Public

           Schools, 475 Mass. 280 (2010) to the facts in this case, including whether it summarily

           rejects a requirement to exhaust remedies prior to pursuing a claim under M.G.L. c. 76,

           § 5.

        The District responds to the June 23, 2025 Order below.




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    II.       ALLEGED FACTS RELEVANT TO THIS RESPONSE 1

           On or about December 21, 2021, KG transferred from the Reingold Elementary School to

Crocker Elementary School, 2 as a result of the events in November and December 2021. ECF No.

13 at ¶ 41. See also ECF generally. According to Plaintiffs, following her transfer to Crocker

Elementary, KG “continued to exhibit signs of distress and trauma” including refusing to ride the

bus and refusing to put beads in her hair out of fear for how students would perceive her and that

her new teacher and friends would not like her. ECF No. 13 at ¶¶ 42-45. Plaintiffs allege that the

District has never required any white students to change their hair for any reason. ECF No. 13 at

¶ 47. According to Plaintiffs, KG continues to suffer stress and anxiety every time she has her hair

done. ECF No. 13 at ¶ 46.

           As a result of the events in November and December 2021, KG’s mother, Kristene

Haywood met with Superintendent of the District Robert Jokela (“Superintendent Jokela”) and

requested that KG’s teacher be required to undergo anti-bias training. ECF No. 13 at ¶ 37. Plaintiffs

allege that Superintendent Jokela did not appear to take Ms. Haywood’s concerns seriously. ECF

No. 13 at ¶ 38. Plaintiffs also allege that the District had not conducted or arranged for any training

that would have adequately prepared its teachers and administrators to understand the importance

and cultural context of “protective hairstyles” as defined in M.G.L. c. 4 § 7. ECF No. 13 at ¶ 38.

    III.      ALLEGED VIOLATIONS RELEVANT TO THIS RESPONSE

           Plaintiffs allege KG had a property interest in “attending the public school in which she

had been enrolled.” ECF No. 13 at ¶ 80. According to Plaintiffs, the District deprived KG of her

property interest without constitutionally adequate process in violation of her right to Procedural


/ Given the required brevity of this memorandum and the background having been discussed in multiple pleadings,
1

Defendant has no need to restate all facts and relies only on facts relevant to this discussion.
2
 / Crocker Elementary is a school within the Fitchburg School District. CROCKER ELEMENTARY SCHOOL,
https://crocker.fitchburg.k12.ma.us/about-us (last visited July 14, 2025).

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Due Process under the Fourteenth Amendment of the United States Constitution and Part l, Article

XII of the Massachusetts Constitution. ECF No. 13 at ¶ 81.

          Plaintiffs also allege the District’s “discriminatory treatment of KG and her mother had the

effect of necessitating KG’s relocation to a different school, a disruptive process that caused both

KG and Ms. Haywood emotional distress.” ECF No. 13 at ¶ 59. Plaintiffs allege that the District’s

discriminatory treatment of KG and her mother violated M.G.L. c. 76 § 5. ECF No. 13 at ¶ 60.

    IV.       ANALYSIS

          A. The administrative remedies provided under M.G.L. c. 76, §§ 5 and 16 foreclose
             Plaintiffs’ Procedural Due Process claim.

          Under M.G.L. c. 76, § 5, “[e]very person shall have a right to attend the public schools of

the town where he actually resides.” Further, M.G.L. c. 76, § 16 provides, “who has been refused

admission to or excluded from the public schools or from the advantages, privileges and courses

of study of such public schools shall on application be furnished by the school committee with a

written statement of the reasons therefor, and thereafter, if the refusal to admit or exclusion was

unlawful, such pupil may recover from the town” (emphasis added). The Supreme Judicial Court

(“SJC”) has pointed out that M.G.L. c. 76, § 16 “has been in effect in essentially the same form

since 1845.” Goodwin v. Lee Pub. Sch., 475 Mass. 280, 284 (2016). See St.1845, c. 214. 3

          Here, the Defendants neither “refused admission or excluded” KG from attending the

public school in her residential town or district. According to the facts 4 provided by Plaintiffs,

during the December 1, 2021, meeting, with Reingold Elementary School personnel, the school

choice officer, Eva Kelly, agreed to help KG transfer to a new school “if Ms. Haywood wanted




3
 / An Act Concerning Public Schools, ch. 214 (1845).
4
 / The District takes Plaintiffs’ well-pleaded factual allegations as presumed true solely for the purposes of this response
brief. See, e.g., Ruiz v. Bally Total Fitness Holding Corp., 496 F.3d 1, 5 (1st Cir. 2007).

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her to.” ECF No. 13 at ¶ 34. Further, Plaintiffs allege that on or about December 6, 2021, “Ms.

Haywood met again with Principal Sparks and discussed KG’s transfer to Crocker Elementary

School.” ECF No. 13 at ¶ 35. In their Opposition to the Motion to Dismiss, Plaintiffs cite to an

email from Reingold Elementary Principal Justin Sparks, who “acknowledged in an email that KG

had felt like she did not belong at Reingold Elementary School and that [Principal Sparks] needed

‘to have further conversations with [KG’s] teacher and as a school community.’” ECF No. 16 at

4. These facts, taken as true, fall short of refusing admission or outright expulsion of KG from

Reingold Elementary School. See Morrison v. City of Lawrence, 186 Mass. 456, 458 (1904) (“It

was obligatory on the plaintiff to show that he did not voluntarily leave school. For this purpose it

was open to him to prove that he left because [he was] suspended by the superintendent of

schools”). In point of fact, many children transfer schools for different reasons and it is incumbent

upon school personnel to help accommodate a transfer request it that is what a parent and student

want. In no way can help facilitating a relocation be tantamount to refusing admission or

outright expulsion.

       Nonetheless, even to the extent the school’s failure to prevent KG from “feeling safe” and

comfortable on account of her race constituted the deprivation of her “advantages, privileges and

courses of study” at Reingold Elementary pursuant M.G.L. c. 76, § 16, the student may recover

from the town “if the refusal to admit or exclusion was unlawful.” There is nothing unlawful about

KG’s transition from Reingold Elementary to Crocker Elementary. The school did not suspend or

expel her predicated on false information and the pleaded facts do not rise to unlawful or illegal

acts. See ECF No. 15. Indeed Plaintiffs—not the school—made the decision to transfer from

Reingold to Crocker.




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       Even if it were an unlawful expulsion under § 16, (which there clearly was not) the statute

provides administrative relief sufficient to satisfy a Procedural Due Process claim. The “basic

guarantee” of Procedural Due Process is that, before a deprivation of a protected property interest

can take place, a plaintiff “must be forewarned and afforded an opportunity to be heard at a

meaningful time and in a meaningful manner.” Amsden v. Moran, 904 F.2d 748, 753 (1st Cir.

1990) (quotation omitted). Plaintiffs have provided no evidence that they petitioned the Fitchburg

School Committee for relief to remain at Reingold Elementary School. In fact, they did the

opposite in asking to be relocated, thus failing to exhaust her redressability pursuant to her

Procedural Due Process rights. See e.g., Carr v. Inhabitants of Town of Dighton, 229 Mass. 304,

306 (1918) (A student’s father applied to the school committee by letter for a statement in writing

of   the   reasons    for   his   child’s   exclusion    from    school,   in    accordance    with

Revised Laws 1902 c. 44, § 7). The SJC has been clear that the final determination to expel or

suspend a student from school lies with the school committee. See Hodgkins v. Inhabitants of

Rockport, 105 Mass. 475, 476 (1870) (“. . . when a scholar is guilty of misconduct which

injuriously affects the discipline and management of the school, we think the law vests in the

school committee the power of determining whether the welfare of the school requires his

exclusion”). Plaintiffs have provided no evidence that they applied to or petitioned the school

committee for a written statement for the reasons for KG’s expulsion from Reingold Elementary.

Why would they, as she was not expelled? To the extent Plaintiffs argue KG has been forced out

of Reingold, they have not sought an explanation from the school committee as to how it will

address or resolve the concerns the Plaintiffs have, such as offering training that would adequately

prepared its teachers and administrators to understand the importance and cultural context of

protective hairstyles as defined in M.G.L. c. 4 § 7. See generally ECF Nos. 13 and 16.



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       While the SJC held in Leonard v. School Committee of Attleboro, 349 Mass. 704 (1965)

that M.G.L. c. 76, §16 provides the exclusive remedy for a student seeking damages in tort when

a member of the school committee, principal, or teacher unlawfully excludes a pupil from a public

school, here, it is worth discussing that the MTCA is the exclusive remedy for claims against state

and local public employers. See M.G.L. c. 258, § 2. Specifically, for claims of “personal injury …

caused by the negligent or wrongful act or omission of any public employee while acting within

the scope of his office or employment, … [t]he remedies provided by this chapter shall be exclusive

of any other civil action or proceeding by reason of the same subject matter against the public

employer.” Id. To the extent KG’s claim is for injury beyond “expulsion,” Plaintiffs must rely on

the MTCA.

       B. Goodwin does not provide an exhaustion exception to Plaintiffs under M.G.L. c.
          76 § 16 prior to seeking a claim.

       In Goodwin v. Lee Public Schools, 475 Mass. 280 (2016), the SJC concluded that a high

school student was not required to exhaust their administrative remedies pursuant to M.G.L. c. 71,

§ 37H½ prior to bringing a claim under M.G.L. c. 76, § 16. Id. at 286. The Court held: “[B]ecause

the plaintiff’s suspension under § 37H½ was in violation of the statute, [the student] was not

required to exhaust the administrative remedies provided under that statute (appeal to the

superintendent) before seeking review of that suspension in the Superior Court.” Goodwin, 475

Mass. at 287 (2016) (emphasis added). Goodwin is inapplicable here as it involved the unlawful

suspension of a student for nonexistent felony charges which the school believed had been or

would be brought. The case here is not parallel or in any way similar. The only holding the SJC

made in Goodwin as it relates to M.G.L. c. 71 § 16 is that “nothing in the language of § 37H½

precludes a student who has been suspended under [§ 37H½] from seeking to pursue a tort remedy




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under G.L. c. 76, § 16, without having first pursued or prevailed on appeal of a decision ordering

the student’s suspension under § 37H½ .” Goodwin, 475 Mass. at 289 (2016).

       Plaintiffs rely on the SJC’s footnote in Goodwin that “recovery in tort [pursuant to M.G.L.

c. 76, § 16] is permissible, without any statutory prerequisite, ‘if the refusal to admit or exclusion

was unlawful.’” ECF No. 16 at 12, quoting Goodwin, 475 Mass. 280, 289 n. 10 (2016). This is

nothing more than a red herring. In the instant case—and unlike in Goodwin where it was

undisputed that the principal unlawfully excluded the student from attending school—nothing is

unlawful about KG’s transition from Reingold Elementary to Crocker Elementary. Furthermore,

footnote No. 11 states, “in some circumstances, the failure to exhaust administrative remedies

seeking readmission to school might be relevant to a mitigation of damages, the two statutes

[referring to M.G.L. c. 76, § 16 and M.G.L. c. 71, § 37H½] afford separate and independent

remedies.” Goodwin, 475 Mass. at 289 n. 11 (2016). Here, the facts are completely different from

Goodwin and therefore the case must be analyzed outside the scope of Goodwin. Thus it has no

application to this case.

 V.    CONCLUSION

       WHEREFORE, the Defendant Fitchburg Public Schools hereby respectfully submits this

memorandum in response to the Order issued by Judge Guzman and respectfully requests that this

Honorable Court enter an order dismissing all counts of the Complaint brought against them, with

prejudice, enter final judgment in their favor, and grant them any other such relief that his Court

deems necessary and just.




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                                                     Respectfully submitted,

                                                     The Defendant,
                                                     FITCHBURG PUBLIC SCHOOLS,
                                                     By its Attorneys,

                                                     PIERCE DAVIS & PERRITANO LLP

                                                     /s/ Brian M. Fleming
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Dated: July 16, 2025




                                CERTIFICATE OF SERVICE

        I hereby certify that this document(s) filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on this 16th day of
July 2025.


                                                             /s/ Brian M. Fleming
                                                             _________________________
                                                             Brian M. Fleming




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